Case 2:16-cv-06099-R-AJW Document 8 Filed 08/16/16 Page 1 of 4 Page ID #:192




                   UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA

 FISHER AND PAYKEL HEALTHCARE
 LIMITED

              Plaintiff(s),
                                         CASE NO:
      v.                                 2:16−cv−06099−R−AJW
 RESMED CORP
                                         ORDER RE: NOTICE TO
                                         COUNSEL

             Defendant(s).




  READ CAREFULLY: FAILURE TO COMPLY MAY LEAD TO SANCTIONS


      This case has been assigned to the calendar of Judge Manuel L. Real.
      Counsel are advised that the Court expects strict compliance with the
  provisions of the Local Rules and the Federal Rules of Civil Procedure
  NONCOMPLIANCE MAY LEAD TO THE IMPOSITION OF SANCTIONS
  WHICH MAY INCLUDE THE STRIKING OF PLEADINGS AND ENTRY
  OF JUDGMENT OR DISMISSAL OF THE ACTION.



      The attention of counsel is particularly directed to Local Rule 16.
  Counsel should also be guided by the following special requirements when
  litigating cases assigned to Judge Real:

              1. INTERROGATORIES: See Local Rules.
              2. MOTIONS: Motions shall be heard on the first and third
  Monday of each month at 10:00 A.M., unless otherwise ordered by the Court.
Case 2:16-cv-06099-R-AJW Document 8 Filed 08/16/16 Page 2 of 4 Page ID #:193
  NOTICE TO COUNSEL                                                        PAGE 2


  If the Monday is a national holiday, the succeeding Tuesday shall be the
  motion day. Counsel do not need to contact the Court in this regard, as there
  is no need to reserve dates.
              3. EX PARTE APPLICATIONS: No hearing will be held unless
  deemed necessary by the Court; if the Court requires a hearing, the clerk will
  contact the parties and inform them of the date and time. In the moving
  papers' declaration of notification, the declarant shall state whether or not the
  application is opposed; if opposed, the declarant shall state that the opposing
  party was informed that it has twenty−four (24) hours from receipt of the
  papers to file its opposition. The matter will then stand submitted.
              4. CONTINUANCES: Counsel requesting a continuance must
  submit a stipulation with a detailed declaration as to the reason for the
  requested continuance or extension of time, together with a proposed order.
  Stipulations, including those for second and subsequent extensions of time
  to respond to the complaint, are effective ONLY when approved by this
  Court. Any stipulation not in compliance with this order or the Local Rules
  will automatically be denied without further notice to the parties.
              5. CONFORMED COPIES: Parties will receive conformed
  copies through the Court's CM/ECF e−filing system; or by mail, if applicable.
              6. REMOVED ACTIONS: Any answers filed in state court must
  be refiled in this Court as a supplement to the petition. Any pending motions
  must be renoticed in accordance with Local Rule 7.
              7. WAIVED LOCAL RULES: (Local Rule 16−14.1): Settlement
  conferences are NOT mandatory; if the parties mutually agree to the holding
  of a settlement conference, they shall contact the clerk. (Local Rule 7−3):
  parties are NOT obligated to meet and confer, or file a declaration in
Case 2:16-cv-06099-R-AJW Document 8 Filed 08/16/16 Page 3 of 4 Page ID #:194
  NOTICE TO COUNSEL                                                      PAGE 3


  connection thereto, for the purposes of preparing and filing dispositive
  motions (to dismiss, summary judgment, etc).
              8. FEDERAL RULE 26(f): This Court requires the following,
  and counsel are ORDERED to follow this outline: 30 days after the first
  answering defendant files a response to the complaint, the parties shall hold
  an early meeting, in person, for the purpose of making initial disclosures.
  Plaintiff's counsel shall have the duty of scheduling the meeting. The parties
  shall then file a Joint Report of Early Meeting within 14 days of the holding
  of the Early Meeting of Counsel. Counsel are informed that approximately
  30 days after receipt of the Joint Report, this Court shall issue an Order setting
  the dates of the Final Pre−Trial Conference, and the Trial of the action. This
  Court shall not set a "scheduling conference" or issue a "scheduling order"
  other than as set out previously in this section.
              9. COURTESY COPIES OF E−FILED DOCUMENTS: Courtesy
  copies are not accepted directly in chambers. Copies of all e−filed documents shall
  be delivered either to the civil intake section clearly marked as a courtesy copy,
  placed in the courtesy copy in−box outside of chambers or sent to the Court via
  overnight mail, within twelve (12) court business hours of the time the document
  was e−filed. The courtesy copy shall be blue−backed and double−hole punched.
              10. WORD/WORDPERFECT PROPOSED ORDERS, JUDGMENTS
  OR ANY OTHER SIGNATURE ITEMS: Pursuant to General Order 08−02, a
  Microsoft Word or WordPerfect copy of any proposed document requiring a
  signature shall and must be e−mailed to the generic chambers e−mail address
  (r_chambers@cacd.uscourts.gov). The subject line of the e−mail shall be in the
  following format: court's divisional office, year, case type, case number, judge's
  initials and filer (party) name [e.g., 2:09 CV 09876 R (Plaintiff or Defendant's
Case 2:16-cv-06099-R-AJW Document 8 Filed 08/16/16 Page 4 of 4 Page ID #:195
  NOTICE TO COUNSEL                                                         PAGE 4


  name)].
              11. NOTICE OF THIS ORDER: Counsel for plaintiff, or plaintiff,
  if appearing on his or her own behalf, is responsible for promptly serving this
  notice on defendant's counsel, and filing a proof of service with the notice
  attached as an exhibit with the Court. If this case came to the Court via a
  Noticed Removal, this burden falls to the removing defendant.




 Date: August 16, 2016
                                             Manuel L. Real
                                             United States District Judge
